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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1400V
                                    Filed: February 17, 2016
                                           Unpublished

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DEBORAH VANDERPOOL,                     *
                                        *
                   Petitioner,          *    Ruling on Entitlement; Concession;
                                        *    Influenza (“flu”) Vaccine; Shoulder Injury
                                        *    Related to Vaccine Administration
SECRETARY OF HEALTH                     *    (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                     *    (“SPU”)
                                        *
                   Respondent.          *
                                        *
****************************
Anne Toale, Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Ryan Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On November 19, 2015, Deborah Vanderpool (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
received an influenza (“flu”) vaccination on December 1, 2014, and thereafter suffered
from a shoulder injury related to vaccine administration (“SIRVA”). See generally
Petition. The case was assigned to the Special Processing Unit (“SPU”) of the Office of
Special Masters.

       On February 17, 2016, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Rule 4(c) Rep. at 1.
Specifically, respondent concluded, after reviewing the petition and medical records in
this case, “that petitioner’s alleged injury is consistent with SIRVA; that a preponderance
of evidence establishes that her SIRVA was caused-in-fact by the flu vaccination she

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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received on December 1, 2014; and that no other causes for petitioner’s SIRVA were
identified.” Id. at 5. Respondent further stated “given that petitioner was seen for PT as
of December 8, 2015, the statutory six month sequela requirement has been satisfied.”
Id. “Therefore, based on the current record, petitioner has satisfied all legal
prerequisites for compensation under the Act.” Id.

      In view of respondent’s concession and the evidence contained in the
record, the undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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